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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 SANJAY GUPTA,

             Plaintiff,                                    Case No. 1:23-cv-00201-PLM-RSK

 v.                                                                      Hon. Paul L. Maloney

 TERESA K. WOODRUFF, et al.,

             Defendants.



                                     EXHIBIT LIST

    DEFENDANTS’ BRIEF IN SUPPORT OF OMNIBUS MOTION TO DISMISS
  PLAINTIFF’S FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

Exhibit 1   Relationship Violence and Sexual Misconduct and Title IX Policy (“RVSM
            Policy”)

Exhibit 2   University Reporting Protocol: RVSM, effective August 14, 2020 (the
            “Protocol”)

Exhibit 3   OIE Failure to Mandatory Report Memorandum, Case No 2022-00907, dated
            August 8, 2022

Exhibit 4   Memorandum from Austin to Woodruff, dated August 8, 2022

Exhibit 5   Resignation e-mail from Plaintiff to Michigan State University employees, dated
            August 12, 2022

Exhibit 6   Michigan State University Bylaws for Academic Governance, April 2022

Exhibit 7   Unpublished Cases

            Anderson v. Ohio State University, 26 F. App’x 412 (6th Cir. 2001)

            Bullock v. Bd. Of Regents of State Univ. and Comm. Coll. Sys. of State of Tenn.,
            1989 WL 140167 (6th Cir. Nov. 21, 1989)

            Chauhan v. Baker, 1988 WL 137332 (6th Cir. Dec. 23, 2023)

            Dvorak v. Wright State Univ., 1997 WL 1764779 (S.D. Ohio Sept. 3, 1997)

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            Genesee Intermediate Sch. Dist. V. City of Flint Sch. Dist., 2020 WL 4915430
                  (Mich. Ct. App. Aug. 20, 2020)

            George v. Wayne Cty., 1997 WL 33350581 (Mich. Ct. App. Apr. 18, 1997)

            Guzall v. Michigan State Univ., Case No. 20-000189-MK (Mich. Ct. Cl. Feb. 1,
            2020)

            Heike v. Cent. Mich. Univ. Bd. of Trs., 2011 WL 2602004 (E.D. Mich. July 1, 2011)

            Heike v. Guevara, 519 F. App’x 911 (6th Cir. 2013)

            Marjorie L. Terhune, et al. v Scott Frank, et al, 1993 WL 316006 (1993)

            Mitchell v. Ohio State University, 2020 WL 5250459 (S.D. Ohio Sept. 3, 2020)

            Nehls v. Hillsdale Coll. (“Nehls II”), 65 F. App’x 984 (6th Cir. 2003)

            Odom v. Univ. of Mich., 2017 WL 2117978 (E.D. Mich. May 16, 2017)

            Ryniewicz v. Clarivate Analytics, 803 F. App'x 858 (6th Cir. 2020)

            Smith v. Wrigley Mfg. Co., LLC, 749 F. App’x 446 (6th Cir. 2018)

            Thomas v. Noder-Love, 621 F. App’x 825 (6th Cir. 2015)

            Toth v. City of Toledo, 480 F. App’x 827 (6th Cir. 2012)

            Urban Assocs., Inc. v. Standex Elecs., Inc., 216 F. App’x. 495 (6th Cir. 2007)

            Whiting v. Allstate Ins. Co., 433 F. App’x 395 (6th Cir. 2011)

            Yerkes v. Ohio State Highway Patrol, 2022 WL 17753528 (6th Cir. Dec. 19, 2022)




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